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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Andrew Beckett, et al ,                           No. 2:17-CV-03864-JS
                Plaintiffs,
v.
Aetna, Inc., et al,                                                                 FILED
                Defendants                                                        NOV 2 7 2018
                                                                                KATE BARKMAN, Qerk
                                                                              BY.          Dep. Clerk
                          STIPULATION REGARDING CLASS LIST

        Plaintiffs and Defendants Aetna, Inc., Aetna Life Insurance Company, and Aetna

Specialty Phannacy, LLC ("Aetna'') (collectively, the "Parties"), through their undersigned

counsel, hereby stipulate and agree as follows:

        WHEREAS, on January 16, 2018, all parties to the above-captioned action entered into a

Settlement Agreement requiring, among other things, that a settlement administrator review and

process forms and claim packages from Settlement Class Members and then mail settlement

payments to Settlement Class Members not later than forty-five (45) days after the Effective

Date of the Settlement (ECF No. 50-3 (''Settlement Agreement")§§ 4.3, 4.5);

        WHEREAS, on May 10, 2018, the Court granted Plaintiffs' Motion for Preliminary

Approval of Class Action Settlement and Qualified Protective Order (ECF No. 59 ("Preliminary

Approval Order'1);

        WHEREAS, in connection with preliminary approval of the class action settlement m this

case, the Court o:rdered Aetna to produce data regarding the Settlement Class Members (the

"Class List") to the Settlement Administrator, Angeion Group, LLC (Preliminary Approval

Order   1 10), which data included names and addresses of Settlement Class Members but not
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social security numbers;

        WHEREAS, on or about May 16, 2018, Aetna produced the Class List to Angeion in a

secure manner pursuant to the Preliminary Approval Order and the Protective Order that has

been entered in this case;

        WHEREAS, on October 16, 2018, the Court granted final approval of the Parties'

Settlement, and retained jurisdiction over all matters related to the Settlement (ECF No. 72, 21 ),

        WHEREAS, the Settlement Administrator has been processing Claim Forms and is

preparing to distribute the settlement funds to the Settlement Class Members, but has infonned

the Parties that to comply with IRS regulations, the Settlement Administrator requires social

security numbers of Settlement Class Members;

       WHEREAS, jf approved and ordered by the Co~ Aetna has agreed to provide that

information to the extent it is in Aetna's possession to the Settlement Administrator pursuant to

this Stipulation and Proposed Order and the Protective Order that has been entered in this case

for the sole purpose of administering the Settlement; and

       WHEREAS, Plaintiffs and Plaintiffs' counsel represent that there is good cause and a

compelling need for the production of this information by Aetna on a confidential basis to the

Settlement Adn:rinistrator, and that there is not an alternative for administering the Settlement

that would involve not producing this infonnation.

       NOW, THEREFORE, the Parties agree that Aetna shall provide social security numbers

that it has in 1ts possession for Settlement Class Members to the Settlement Administrator

pursuant to the Protective Order that has been entered in this case, after an Order is entered by

the Court requiring Aetna to do so. A proposed Order is being submitted to the Court.




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Dated: November 20, 2018




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Dated: November 20, 2018

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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Andrew Beckett, et al ,                           No. 2:17-CV-03864-JS

                Plaintiffs,
V.

Aetna, Inc., et al.,
                Defendants.


                                                    ORDER

        AND NOW, upon consideration of the Parties' Stipulation Regarding Class List, the

Court finds that there is good cause and a compelling need for the disclosure of Settlement Class

Members' social security numbers by Aetna on a confidential basis to the Settlement

Administrator for the sole purpose of administering the Settlement. The Court furtb.e1 finds that

there is not an alternative for administering the Settlement that would involve not producing this

infonnation to the Settlement Administrator. IT IS HEREBY ORDERED that Defendants shall

provide the Settlement Administrator, on a confidential basis and pursuant to and in accordance

with this Order and the Protective Order that has been entered in this case. with the social

security numbers for Settlement Class Members that Defendants have in their possession. The

Settlement Administrator shall maintru.n tlus information in accotdance wi~ and shall otherwise

comply with the terms of, the Protective Order that has been entered in this case and all

applicable federal and state privacy laws. Following the distribution of the settlement funds, the

Settlement Administrator shall destroy this data in accordance with Paragraph 20 of the Order

Granting Plaintiffsl Motion for Final Approval of Class Action Settlement. (ECF No. 72.)
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                                         BY THE COURT:
Dated: Novembe~8




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